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 2
                                  UNITED STATES DISTRICT COURT
 3                          FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                       AT SAN FRANCISCO
 4
     _________________________________________
 5                                                     )
                                                       )
 6    FOOD & WATER WATCH, et al.,                      )   Civ. No. 17-CV-02162-EMC
                                                       )
 7                                Plaintiffs,          )   [PROPOSED] ORDER REGARDING
                    vs.                                )   PLAINTIFFS’ UNOPPOSED MOTION
 8                                                     )   FOR AN EXTENSION TO THE
      U.S. ENVIRONMENTAL PROTECTION                    )   CURRENT BRIEFING SCHEDULE ON
 9    AGENCY, et al.                                   )   ATTORNEY FEES AND COSTS
                                                       )
10                                Defendants.          )
                                                       )
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13          Having reviewed Plaintiffs’ Unopposed Motion for an Extension to the Current Briefing Schedule
14
     on Attorney Fees and Costs, the Court GRANTS the motion. The deadline for Plaintiffs motion is thereby
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     extended by 45 days.
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17          IT IS SO ORDERED. Dated this ____       March
                                          4 day of __________, 2025.
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19                                                            ______________________
                                                              HON. EDWARD M. CHEN
20                                                            United States District Judge

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              [PROPOSED] ORDER REGARDING PLAINTIFFS’ UNOPPOSED MOTION FOR AN EXTENSION
28                  TO THE CURRENT BRIEFING SCHEDULE ON ATTORNEY FEES AND COSTS
